833 F.2d 310Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Cornell Dexter WILLIAMS, Petitioner-Appellant,v.STATE OF MARYLAND, Respondent-Appellee.
    No. 86-7376.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 19, 1987.Decided Oct. 27, 1987.
    
      Cornell Dexter Williams, appellant pro se.
      Richard B. Rosenblatt, Assistant Attorney General, for appellee.
      Before WIDENER, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the magistrate's recommendation discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Williams v. Maryland, C/A No. 85-1556-R (D.Md., Nov. 21, 1986).
    
    
      2
      AFFIRMED.
    
    